                                                    Clear Form
DOCUMENTS UNDERCase5:15-cr-00226-EJD
                 SEAL                      Document11                   Filed06/19/15
                                                                           TOTAL TIME (mPage1
                                                                                         ins): of
                                                                                                241min
M AGISTRATE JUDGE              DEPUTY CLERK                                         REPORTER/FTR
M INUTE ORDER                 Lili M. Harrell                                      FTR: 1:57pm - 2:21pm
MAGISTRATE JUDGE               DATE                                                 NEW CASE         CASE NUMBER
Nathanael Cousins                         June 19, 2015                                             15-cr-00226 BLF
                                                     APPEARANCES
DEFENDANT                                  AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                    PD.     RET.
Douglas York                                       Y        P       Graham Archer                         APPT.
U.S. ATTORNEY                              INTERPRETER                            FIN. AFFT             COUNSEL APPT'D
Brianna Penna                                                                     SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR             PARTIAL PAYMENT
                             LaDreena Walton                         APPT'D COUNSEL               OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                          STATUS
                                                                                                            TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT             BOND HEARING             IA REV PROB. or          OTHER
                                                                                   or S/R
       DETENTION HRG              ID / REMOV HRG          CHANGE PLEA              PROB. REVOC.             ATTY APPT
                                                                                                            HEARING
                                                    INITIAL APPEARANCE
        ADVISED                  ADVISED                  NAME AS CHARGED             TRUE NAME:
        OF RIGHTS                OF CHARGES               IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON              READING W AIVED                W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT                SUBSTANCE
                                                         RELEASE
      RELEASED           ISSUED                     AMT OF SECURITY         SPECIAL NOTES               PASSPORT
      ON O/R             APPEARANCE BOND            $ 50,000 P/R                                        SURRENDERED
                                                                                                        DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                 DETAINED          RELEASED       DETENTION HEARING            REMANDED
      FOR             SERVICES                                                  AND FORMAL FINDINGS          TO CUSTODY
      DETENTION       REPORT                                                    W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
    CONSENT                     NOT GUILTY                 GUILTY                    GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA             PLEA AGREEMENT            OTHER:
    REPORT ORDERED                                         FILED
                                                       CONTINUANCE
TO:                              ATTY APPT                BOND                    STATUS RE:
6/23/2015                        HEARING                  HEARING                 CONSENT                 TRIAL SET

AT:                              SUBMIT FINAN.             PRELIMINARY            CHANGE OF               STATUS
                                 AFFIDAVIT                 HEARING                PLEA
9:00am                                                     _____________
BEFORE HON.                      DETENTION                 ARRAIGNMENT             MOTIONS                JUDGMENT &
                                 HEARING                                                                  SENTENCING
Freeman
       TIME W AIVED              TIME EXCLUDABLE           IDENTITY /             PRETRIAL                PROB/SUP REV.
                                 UNDER 18 § USC            REMOVAL                CONFERENCE              HEARING
                                 3161                      HEARING
                                                 ADDITIONAL PROCEEDINGS
In light of the defendant's release on bond, parties request status before Judge Freeman.
Letter submitted by defense counsel to be filed under seal.
cc: TSH
                                                                                        DOCUMENT NUMBER:
